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                                                               EXHIBIT A
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                           Unified Title Company of Northern Colorado, LLC
                                                      1275 58th Avenue, Unit C
                                                         Greeley, CO 80634
                                           PHONE: 970-356-3551          FAX: 970-356-2063

                             ___________________________________________________________________

                         **ESTIMATED**SELLERS SETTLEMENT STATEMENT
                                                                                     CASE NO.: 17691UTG
      SETTLEMENT DATE: July 31, 2019                                       DATE OF PRORATION: July 31, 2019
     PROPERTY ADDRESS: 410 12th Street
                       Greeley, CO 80631
               SELLER: Bidal Meza-Espino and Jannet Y. Espinoza                      PURCHASER: Maria Elena Vallejo Mora and Rosa
                                                                                                Mora De Vallejo

     LEGAL DESCRIPTION: Lot 3, Block 138, Oliver Howards, County
                        of Weld, State of Colorado.

    DESCRIPTION                                                                                    DEBIT                    CREDIT
    Sale Price of Property                                                                                                    $270,000.00
    E-recording/Recording Processing Fee to eTRCO, LLC                                                     $15.00
    Real Estate Closing Fee to Unified Title Co. of Northern Colorado (Greeley)                           $160.00
    Record Lis Pendens Releases (2) to Weld County Clerk And Recorder                                      $26.00
    Record Statement of Authority to Weld County Clerk And Recorder                                        $13.00
    Title - Owner's Title Insurance to Unified Title Co. of Northern Colorado (Greeley)                   $593.00
    Title - OEC - Pln Lang. Endorsement to Unified Title Co. of Northern Colorado
    (Greeley)                                                                                              $65.00
    Final Water Estimate to City of Greeley Utility Billing                                               $500.00
    2018 Property Taxes ($979.80 POC)
    Real Estate Commission - Listing to New Horizons & Associates, Inc.                                $8,100.00
    Real Estate Commission - Selling to Colorado Dream Homes Realty                                    $8,100.00
    Payoff of First Mortgage Loan                                                                    $172,000.00
    County Property Taxes 1/1/2019 thru 7/30/2019                                                        $763.18
    Sub-totals                                                                                       $190,335.18              $270,000.00
    Due To Seller                                                                                     $79,664.82
    TOTALS                                                                                           $270,000.00              $270,000.00
                                                        APPROVED AND ACCEPTED

    Sales or use taxes on personal property not included. UNIFIED TITLE COMPANY OF NORTHERN COLORADO, LLC assumes no
    responsibility for the adjustment of special taxes or assessments unless they are shown on the Treasurer¶s Certificate of Taxes Due.
    The condition of title to the property is to be determined by reference to the title evidence provided by Seller or by personal
    investigation. The above statement of settlement is approved as of the settlement date shown above and Unified Title Company of
    Northern Colorado, LLC is hereby authorized to disburse funds as indicated herein.

    Seller                                                                                New Horizons & Associates, Inc.


                                                                       Broker/Agent       __________________________
    ___________________________________                                                   Ana Guerrero
    Bidal Meza-Espino


    ___________________________________                               Closing Agent       __________________________
    Jannet Y. Espinoza                                                                    Unified Title Company of Northern
                                                                                          Colorado, LLC




                                                                                                         EXHIBIT 1
